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                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                                    )
                                                             )                8:14CR156
                          Plaintiff,                         )
                                                             )
        vs.                                                  )                 ORDER
                                                             )
ROCKY VERDUGO,                                               )
                                                             )
                          Defendant.                         )


        This matter is before the court on the motion for an extension of time by defendant Rocky Verdugo
(Verdugo) (Filing No. 51). Verdugo seeks an additional thirty days in which to file pretrial motions in accordance
with the progression order. Verdugo's counsel represents that Verdugo will file an affidavit wherein he consents
to the motion and acknowledges he understands the additional time may be excludable time for the purposes
of the Speedy Trial Act. Verdugo's counsel represents that government's counsel has no objection to the motion.
Upon consideration, the motion will be granted


        IT IS ORDERED:
        Defendant Verdugo's motion for an extension of time (Filing No. 51) is granted. Verdugo is given until
on or before September 4, 2014, in which to file pretrial motions pursuant to the progression order. The ends
of justice have been served by granting such motion and outweigh the interests of the public and the defendant
in a speedy trial. The additional time arising as a result of the granting of the motion, i.e., the time between

August 5, 2014, and September 4, 2014, shall be deemed excludable time in any computation of time under
the requirement of the Speedy Trial Act for the reason defendant's counsel requires additional time to adequately
prepare the case, taking into consideration due diligence of counsel, and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).


        DATED this 5th day of August, 2014.
                                                             BY THE COURT:
                                                             s/ Thomas D. Thalken
                                                             United States Magistrate Judge
